 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 1 Filed 10/06/17
                                           Date         Page 1 of 19 Entry
                                                Filed: 10/06/2017     PageID   #: 1996
                                                                           ID: 6124296




              United States Court of Appeals
                             For the First Circuit

 No. 17-1378

          VICKI McKENNEY, individually and as next friend of
       STEPHEN McKENNEY, and as personal representative of the
                      ESTATE OF STEPHEN McKENNEY,
                          Plaintiff, Appellee,

                                         v.

                                NICHOLAS MANGINO,

                             Defendant, Appellant,

                           CUMBERLAND COUNTY ET AL.,

                                   Defendants.


              APPEAL FROM THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MAINE

                  [Hon. Jon D. Levy, U.S. District Judge]


                                       Before

                            Howard, Chief Judge,
                      Selya and Lipez, Circuit Judges.


      Peter T. Marchesi, with whom Cassandra S. Shaffer and Wheeler
 & Arey, P.A. were on brief, for appellant.
      Jamesa J. Drake, with whom Drake Law, LLC, Amber L. Tucker,
 and The Law Office of Amber L. Tucker, LLC were on brief, for
 appellee.


                                 October 6, 2017
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 2 Filed 10/06/17
                                           Date         Page 2 of 19 Entry
                                                Filed: 10/06/2017     PageID   #: 1997
                                                                           ID: 6124296



              SELYA, Circuit Judge.        This is a tragic case in which a

 man died at the hands of a police officer who was trying to do his

 job.     The underlying suit alleges, in relevant part, that the

 officer violated 42 U.S.C. § 1983 through the precipitous use of

 deadly force.      In a pretrial ruling, the district court held that

 the officer was not entitled to qualified immunity at the summary

 judgment stage.       See McKenney v. Mangino, No. 2:15-cv-00073, 2017

 WL 1365959, at *13 (D. Me. Apr. 12, 2017).             The officer challenges

 that ruling.      After careful consideration, we dismiss portions of

 this interlocutory appeal for want of appellate jurisdiction and

 otherwise affirm.

 I.   BACKGROUND

              Because we are tasked with reviewing a summary judgment

 ruling, we rehearse the facts in the light most hospitable to the

 nonmovant, consistent with record support.               See Foote v. Town of

 Bedford, 642 F.3d 80, 82 (1st Cir. 2011).

              On April 12, 2014, a clear, sunny day in Windham, Maine,

 plaintiff-appellee Vicki McKenney called 911 at 6:14 a.m. to report

 that her husband, 66-year-old Stephen McKenney, was threatening

 suicide and had been "aggressive" and "physical" with her.                     She

 told the dispatcher that her home contained firearms.                   Within a

 matter of minutes, Windham police officers James Cook and Seth

 Fournier arrived at the McKenney residence and met Mrs. McKenney

 (who was standing outside).           She explained that her husband had


                                       - 2 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 3 Filed 10/06/17
                                           Date         Page 3 of 19 Entry
                                                Filed: 10/06/2017     PageID   #: 1998
                                                                           ID: 6124296



 been experiencing severe back pain and had "snapped" that morning.

 Almost immediately thereafter, a Cumberland County deputy sheriff,

 defendant-appellant Nicholas Mangino, drove up in his cruiser to

 serve as backup.

              The three officers entered the front room of the house

 at 6:22 a.m. and encountered McKenney, who appeared to have a gun

 in his hand.       When asked what he was holding, McKenney replied

 ".357 Magnum."         Although the officers twice directed McKenney to

 put the gun down, McKenney did not comply. Still, he never pointed

 his weapon at any of them inside the dwelling, nor did he utter

 anything resembling a threat.

              The officers retreated outdoors, leaving McKenney inside

 the house.       Officer Fournier placed Mrs. McKenney in his patrol

 car, which he then drove to a cul-de-sac at the end of the street

 a few hundred yards away.           He maintained a clear line of sight,

 though,     to   the    garage   and    driveway    of   the    McKenney     home.

 Meanwhile, the defendant, armed with his AR-15 rifle, his Taser,

 and pepper spray, took cover behind his cruiser (which was parked

 roughly 100 feet from the McKenneys' garage).1

              The defendant peeked over his car from time to time to

 observe the garage and driveway, while simultaneously receiving




       1For the sake of completeness, we note that Zachary Welch, a
 civilian who had been invited by the defendant as a ride-along,
 was crouched in the defendant's parked cruiser.


                                        - 3 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 4 Filed 10/06/17
                                           Date         Page 4 of 19 Entry
                                                Filed: 10/06/2017     PageID   #: 1999
                                                                           ID: 6124296



 updates about McKenney's movements from Officer Fournier.                 Between

 6:24 a.m. and 6:31 a.m., McKenney ambled nonchalantly around and

 about his open garage, driveway, and house.             He entered and exited

 the dwelling around six times during that seven-minute span.                    At

 about 6:26 a.m., McKenney left the house with his gun dangling

 from his hand.       The defendant yelled at him three times to "drop

 the gun."     A few seconds later, McKenney — who was approximately

 100 feet away from the defendant — raised the gun over his head.2

 By all accounts, McKenney had a vacant stare and appeared "not at

 home" mentally.      In short order, he lowered the gun without firing

 it and continued to weave haphazardly into and out of his house

 between 6:26 a.m. and 6:31 a.m.

              At approximately 6:31 a.m., Officer Fournier radioed to

 the defendant that McKenney, who was still dangling his firearm

 and walking leisurely, was in front of the garage.                       Fournier

 stated: "I can't tell, but he might be pointing that, so be

 careful."      Within seconds, McKenney began walking (still in his


       2At his deposition, the defendant testified that he believed
 that McKenney was pointing the weapon in his direction. Because
 we are reviewing a summary judgment ruling, however, we recount
 the facts in the light most favorable to the nonmovant (here, the
 plaintiff). See Foote, 642 F.3d at 82. The district court seems
 to have assumed the truth of the fact that the defendant
 "reasonably believed" that McKenney "had pointed his gun at him."
 McKenney, 2017 WL 1365959, at *12. Any such assumption was, of
 course, made only for the sake of argument; otherwise, it would
 have been unwarranted. The court was obliged to view the summary
 judgment record in the light most hospitable to the plaintiff.
 See Foote, 642 F.3d at 82.


                                       - 4 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 5 Filed 10/06/17
                                           Date         Page 5 of 19 Entry
                                                Filed: 10/06/2017     PageID   #: 2000
                                                                           ID: 6124296



 driveway) in the direction of the defendant's parked cruiser.                   He

 was not making any sudden or evasive movements and was not pointing

 his gun at anyone.         Officer Fournier alerted the defendant that

 McKenney was "walking toward your car right now."                 When McKenney

 had reached a point 69 feet away from the cruiser, the defendant

 fired an errant shot at McKenney's central mass.                 Seconds later,

 he fired a second shot at McKenney's head, which struck and killed

 McKenney. None of the officers had warned McKenney that they would

 use deadly force if he refused to drop his weapon.

               We fast-forward to February of 2015, when Mrs. McKenney,

 qua       plaintiff,    suing    individually       and    as    the     personal

 representative of McKenney's estate, brought a civil action in a

 Maine state court against the defendant and several other persons

 and entities.3      As relevant here, the plaintiff sued the defendant

 under 42 U.S.C. § 1983, which authorizes suit against any person

 who, while acting under color of state law, violates another

 person's federally assured constitutional or statutory rights.

 See Kalina v. Fletcher, 522 U.S. 118, 123 (1997).                 Specifically,

 the plaintiff's complaint alleged that the defendant's use of

 deadly force transgressed McKenney's Fourth Amendment right to be

 free from unreasonable seizures.




       3
       Given the narrowly circumscribed scope of this interlocutory
 appeal, it would serve no useful purpose to enumerate the other
 parties and causes of actions limned in the complaint.


                                       - 5 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 6 Filed 10/06/17
                                           Date         Page 6 of 19 Entry
                                                Filed: 10/06/2017     PageID   #: 2001
                                                                           ID: 6124296



              The    action      was    seasonably      removed      to   the    federal

 district court.          See 28 U.S.C. §§ 1331, 1441(a).                    Following

 pretrial discovery, the defendant sought summary judgment on,

 inter alia, qualified immunity grounds. See Fed. R. Civ. P. 56(a).

              The district court denied the motion.                   Construing the

 record in the light most favorable to the plaintiff, the court

 ruled that a rational jury could find that it was unreasonable for

 the defendant to believe that McKenney "posed an immediate threat

 to the safety of the [defendant] or others at the time he was

 shot."     McKenney, 2017 WL 1365959, at *12.                  In explaining this

 ruling, the court noted that at the time of the shooting, McKenney

 was ambulating nonchalantly around his driveway with his gun

 dangling    by     his   side    and   was    nearly    70   feet    away      from   the

 defendant's cruiser.            See id.      By the time the defendant pulled

 the trigger, it had been approximately six minutes since the

 defendant thought he had seen McKenney pointing the gun at him.

 See id.      Viewing the facts in the requisite light, the court

 concluded that a rational jury could find that the defendant "had

 ample opportunity to observe [McKenney's] actions and movements

 over the course of several minutes, and acted with knowledge of

 all of the relevant circumstances."                 Id.      Other facts, such as

 McKenney's suicidality, the fact that the last order directing him

 to drop his weapon had come approximately six minutes earlier, and

 the fact that no one had ever warned McKenney that deadly force


                                           - 6 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 7 Filed 10/06/17
                                           Date         Page 7 of 19 Entry
                                                Filed: 10/06/2017     PageID   #: 2002
                                                                           ID: 6124296



 would be used if he failed to comply with the officers' orders,

 "militate[d] against the reasonableness" of the defendant's use of

 deadly force.       Id.    In a nutshell, the court below held that on

 the plaintiff's supportable version of the facts, an objectively

 reasonable police officer would have understood, at the moment the

 shot was fired, that employing deadly force against McKenney would

 contravene clearly established law.            See id. at *12-13.

              This    appeal    ensued.        Notwithstanding      the    general

 prohibition against interlocutory appeals, see 28 U.S.C. § 1291,

 the defendant asserts that we have jurisdiction because his appeal

 rests on a denial of qualified immunity and his arguments are

 purely legal.       See Johnson v. Jones, 515 U.S. 304, 319-20 (1995);

 Camilo-Robles v. Hoyos, 151 F.3d 1, 8 (1st Cir. 1998).

 II.   ANALYSIS

              A district court may only grant summary judgment when

 the record, construed in the light most congenial to the nonmovant,

 presents no genuine issue as to any material fact and reflects the

 movant's entitlement to judgment as a matter of law.                 See Fed. R.

 Civ. P. 56(a); Schiffmann v. United States, 811 F.3d 519, 524 (1st

 Cir. 2016). We review rulings granting or denying summary judgment

 de novo.     See DePoutot v. Raffaelly, 424 F.3d 112, 117 (1st Cir.

 2005).

              Subject to only a handful of carefully circumscribed

 exceptions, our appellate jurisdiction is restricted to review of


                                       - 7 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 8 Filed 10/06/17
                                           Date         Page 8 of 19 Entry
                                                Filed: 10/06/2017     PageID   #: 2003
                                                                           ID: 6124296



 final orders and judgments.             See Johnson, 515 U.S. at 309-10.

 Consequently, an interlocutory order denying summary judgment is

 typically not appealable when first entered. See 28 U.S.C. § 1291;

 Plumhoff v. Rickard, 134 S. Ct. 2012, 2018 (2014).

              But an exception to the general requirement of finality

 is potentially applicable here.           Qualified immunity is a doctrine

 that shelters government officials from civil damages liability

 "insofar as their conduct does not violate clearly established

 statutory or constitutional rights of which a reasonable person

 would have known." Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).

 Courts long have recognized that qualified immunity consists of

 both an immunity from suit and an immunity from damages.                       See

 Mitchell v. Forsyth, 472 U.S. 511, 526 (1985).                 Thus, claims of

 qualified immunity ought to be resolved at the earliest practicable

 time.    See Anderson v. Creighton, 483 U.S. 635, 646 n.6 (1987).

 Consistent with this principle, we have held that, notwithstanding

 the absence of a final judgment, we have jurisdiction to review

 interlocutory rulings implicating qualified immunity as long as

 those rulings are purely legal in nature (say, a ruling that a

 given body of facts will support a claimed violation of clearly

 established law).       See Stella v. Kelley, 63 F.3d 71, 74 (1st Cir.

 1995) (citing Johnson, 515 U.S. at 316-17). But we may not review,

 on interlocutory appeal, an order denying qualified immunity "to

 the extent that [the order] turns on either an issue of fact or an


                                       - 8 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 9 Filed 10/06/17
                                           Date         Page 9 of 19 Entry
                                                Filed: 10/06/2017     PageID   #: 2004
                                                                           ID: 6124296



 issue perceived by the trial court to be an issue of fact."                    Id.

 By virtue of this prohibition, we lack jurisdiction to consider a

 defendant's argument "that the facts asserted by the plaintiffs

 are untrue, unproven, warrant a different spin, tell only a small

 part of the story, and are presented out of context."                     Díaz v.

 Martínez, 112 F.3d 1, 5 (1st Cir. 1997).

              It follows that defendants who invoke our limited power

 of interlocutory review to redress denials of qualified immunity

 must be prepared to accept the facts in the light most favorable

 to the plaintiff and "develop the argument that, even drawing all

 the inferences as the district court concluded a jury permissibly

 could, they are entitled to judgment as a matter of law."                 Cady v.

 Walsh, 753 F.3d 348, 359-60 (1st Cir. 2014).                In other words, an

 appellant must explain why he is entitled to qualified immunity

 even if one assumes that the district court properly analyzed the

 facts.4    See id. at 361; see also Morse v. Cloutier, 869 F.3d 16,

 25 (1st Cir. 2017).

              Having erected this jurisdictional framework, we turn

 next to the qualified immunity standard.             When a defendant invokes




       4The Supreme Court has carved out an isthmian exception to
 this rule, instructing courts to disregard the nonmovant's version
 of the facts if that version is "blatantly contradicted by the
 record." Scott v. Harris, 550 U.S. 372, 380 (2007); see Penn v.
 Escorsio, 764 F.3d 102, 105 n.2 (1st Cir. 2014). Here, however,
 the defendant does not argue that this exception applies and, in
 all events, the record belies its applicability.


                                       - 9 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 10FiledDate
                                             10/06/17   Page 10 of 19 Entry
                                                 Filed: 10/06/2017     PageID   #: 2005
                                                                            ID: 6124296



  qualified immunity, an inquiring court typically engages in a "two-

  step pavane."      Alfano v. Lynch, 847 F.3d 71, 75 (1st Cir. 2017).

  First, the court must determine "whether the plaintiff's version

  of the facts makes out a violation of a protected right."                      Id.

  Second, the court must determine "whether the right at issue was

  'clearly     established'      at   the    time    of    defendant's     alleged

  misconduct."      Id. (quoting Matalon v. Hynnes, 806 F.3d 627, 633

  (1st Cir. 2015)).       This second step is itself divisible into two

  components.     To begin, the plaintiff must point to "'controlling

  authority' or a 'consensus of cases of persuasive authority'" that

  broadcasts "a clear signal to a reasonable official that certain

  conduct falls short of the constitutional norm."                       Id. at 76

  (quoting Wilson v. Layne, 526 U.S. 603, 617 (1999)).                   Then, the

  court must evaluate "whether an objectively reasonable official in

  the defendant's position would have known that his conduct violated

  that rule of law."       Id.   These inquiries are carried out with the

  understanding that qualified immunity is meant to shield "all but

  the plainly incompetent or those who knowingly violate the law."

  White v. Pauly, 137 S. Ct. 548, 551 (2017) (per curiam) (quoting

  Mullenix v. Luna, 136 S. Ct. 305, 308 (2015) (per curiam)).

              Before     proceeding      further,     we    lay    the    relevant

  constitutional foundation.          Here, the background law is supplied

  by the Fourth Amendment, which guarantees "[t]he right of the

  people to be secure in their persons, houses, papers, and effects,


                                       - 10 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 11FiledDate
                                             10/06/17   Page 11 of 19 Entry
                                                 Filed: 10/06/2017     PageID   #: 2006
                                                                            ID: 6124296



  against unreasonable searches and seizures."               U.S. Const. amend.

  IV.     A police officer's use of deadly force is deemed a seizure

  under    the    Fourth    Amendment,    and    such   an   extreme    action      is

  reasonable      (and,    therefore,    constitutional)      only     when   "at   a

  minimum, a suspect poses an immediate threat to police officers or

  civilians."       Jarrett v. Town of Yarmouth, 331 F.3d 140, 149 (1st

  Cir. 2003) (per curiam) (citing Tennessee v. Garner, 471 U.S. 1,

  11 (1985)).

                 Timing    is   critically      important    in   assessing      the

  reasonableness of an officer's decision to use lethal force.                   Our

  case law is "comparatively generous" to officers facing "potential

  danger, emergency conditions or other exigent circumstances," and

  we have fashioned "a fairly wide zone of protection" for the police

  in borderline cases.          Roy v. Inhabitants of City of Lewiston, 42

  F.3d 691, 695 (1st Cir. 1994) (citing Graham v. Connor, 490 U.S.

  386, 396-97 (1989)); see Berube v. Conley, 506 F.3d 79, 85 (1st

  Cir. 2007).      But that zone of protection has shifting boundaries.

  Everything depends on context, and the use of deadly force, even

  if "reasonable at one moment," may "become unreasonable in the

  next if the justification for the use of force has ceased."                 Lytle

  v. Bexar Cty., 560 F.3d 404, 413 (5th Cir. 2009).                    Put another

  way, "[a] passing risk to a police officer is not an ongoing

  license to kill an otherwise unthreatening suspect."                  Abraham v.

  Raso, 183 F.3d 279, 294 (3d Cir. 1999).


                                        - 11 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 12FiledDate
                                             10/06/17   Page 12 of 19 Entry
                                                 Filed: 10/06/2017     PageID   #: 2007
                                                                            ID: 6124296



              Among other things, a suspect's physical proximity and

  the speed of his movements are highly relevant to this inquiry.

  See Kirby v. Duva, 530 F.3d 475, 482–83 (6th Cir. 2008); Walker v.

  City of Orem, 451 F.3d 1139, 1160-61 (10th Cir. 2006).                       When

  feasible, a police officer must give some sort of warning before

  employing deadly force.          See Garner, 471 U.S. at 11-12; see also

  Young v. City of Providence ex rel. Napolitano, 404 F.3d 4, 23

  (1st Cir. 2005) (concluding that officer violated Fourth Amendment

  by firing "extraordinarily quickly" and without "adequate warning"

  at armed man whose gun was "pointed downwards"). Moreover, federal

  courts have afforded a special solicitude to suicidal individuals

  in lethal force cases when those individuals have resisted police

  commands to drop weapons but pose no real security risk to anyone

  other than themselves.        See Weinmann v. McClone, 787 F.3d 444, 450

  (7th Cir. 2015) (collecting appellate precedents holding that, as

  of 2007, clearly established law prevented police officers from

  employing    "deadly     force    against    suicidal    people    unless    they

  threaten harm to others"); Mercado v. City of Orlando, 407 F.3d

  1152, 1160-61 (11th Cir. 2005) (similar).

              Here, the defendant concentrates on the second step of

  the qualified immunity paradigm and faults the district court for

  failing to identify a sufficiently similar case that would have

  served to place him on notice that his use of deadly force violated




                                       - 12 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 13FiledDate
                                             10/06/17   Page 13 of 19 Entry
                                                 Filed: 10/06/2017     PageID   #: 2008
                                                                            ID: 6124296



  clearly established Fourth Amendment law.5                  In his view, the

  contours of the relevant Fourth Amendment law were so blurred at

  the time that he shot McKenney that he is deserving of qualified

  immunity.        We have jurisdiction to consider this purely legal

  asseveration.      See Johnson, 515 U.S. at 316-17; Morse, 869 F.3d at

  24.

              Jurisdiction notwithstanding, this argument lacks force.

  Although the district court frankly acknowledged that it could not

  find "[a] case presenting a nearly identical alignment of facts,"

  McKenney, 2017 WL 1365959, at *9, such an exacting degree of

  precision is not required to thwart a qualified immunity defense.

              To be sure, "the clearly established law" employed in a

  qualified immunity analysis "must be particularized to the facts

  of the case."      White, 137 S. Ct. at 552 (internal quotation marks

  omitted).     This instruction fits hand in glove with the Supreme

  Court's warning that, when dealing with qualified immunity, we

  should not over-rely on precedents that are "cast at a high level

  of generality."      Brosseau v. Haugen, 543 U.S. 194, 199 (2004) (per

  curiam).    Even so, there need not be "a case directly on point" to

  satisfy    the    second   step   of    the   qualified   immunity     paradigm.

  Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011); see Anderson, 483




        5In this appeal, the defendant does not challenge the
  district court's finding of a constitutional violation at step one
  of the qualified immunity paradigm.


                                         - 13 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 14FiledDate
                                             10/06/17   Page 14 of 19 Entry
                                                 Filed: 10/06/2017     PageID   #: 2009
                                                                            ID: 6124296



  U.S. at 640; Limone v. Condon, 372 F.3d 39, 48 (1st Cir. 2004).

  The test is whether existing case law has "placed the statutory or

  constitutional question beyond debate."            al-Kidd, 563 U.S. at 741.

  In some cases, "a general constitutional rule already identified

  in the decisional law may apply with obvious clarity to the

  specific conduct in question."          United States v. Lanier, 520 U.S.

  259, 271 (1997).        What counts is whether precedents existing at

  the time of the incident "establish the applicable legal rule with

  sufficient clarity and specificity to put the official on notice

  that his contemplated course of conduct will violate that rule."

  Alfano, 847 F.3d at 76; see Tolan v. Cotton, 134 S. Ct. 1861, 1866

  (2014) (per curiam); Hope v. Pelzer, 536 U.S. 730, 741 (2002).

              The Court's landmark decisions in Graham and Garner,

  which    articulate     generalized      standards     for    excessive     force

  liability under the Fourth Amendment, "do not by themselves create

  clearly established law outside an obvious case."                 White, 137 S.

  Ct. at 552 (internal quotation marks omitted).                  But taking the

  facts and the reasonable inferences therefrom in the light most

  favorable to the plaintiff, the threat presented lacked immediacy

  and alternatives short of lethal force remained open.                    Seen in

  that light, this was a case in which the feasibility of a more

  measured approach was apparent.           Moreover, the district court did

  precisely what the Supreme Court has instructed courts to do: it

  focused on "the specific context of the case."               Brosseau, 543 U.S.


                                       - 14 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 15FiledDate
                                             10/06/17   Page 15 of 19 Entry
                                                 Filed: 10/06/2017     PageID   #: 2010
                                                                            ID: 6124296



  at 198 (internal quotation marks omitted).               With that context in

  mind,    it    relied   on    well-settled      precedents     addressing      the

  lawfulness of using deadly force against an individual who was

  suicidal, armed, slow in gait, some distance away from the officer,

  and had received no commands or warnings for several minutes.                  See

  McKenney, 2017 WL 1365959, at *9-11.           We conclude, without serious

  question, that the precedents identified by the district court and

  those discussed supra gave the defendant fair warning that, if the

  facts were as the plaintiff claimed them to be, his use of deadly

  force    against    McKenney     offended     clearly     established      Fourth

  Amendment law — and an objectively reasonable officer would have

  realized as much. Therefore, the district court properly concluded

  that the absence of a precedent on all fours was not dispositive.

                In an effort to dull the force of this reasoning, the

  defendant makes a series of factbound arguments.                  Most notably,

  the defendant repeatedly insists — contrary to the inferences drawn

  by the district court — that he reasonably perceived McKenney as

  an imminent danger at the time of the shooting, such that he was

  left with no real choice but to fire his weapon.             In turn, he urges

  reversal in light of evidence that he maintains the district court

  either   overlooked     or   insufficiently      considered.       These    facts

  include data points such as that McKenney had ignored police

  commands to drop his loaded weapon, had at one time raised his




                                       - 15 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 16FiledDate
                                             10/06/17   Page 16 of 19 Entry
                                                 Filed: 10/06/2017     PageID   #: 2011
                                                                            ID: 6124296



  gun, and was approaching the defendant (and the unarmed civilian

  in the defendant's cruiser) at the time he was shot.

              But there is a rub: the defendant's characterization of

  the summary judgment record collides head-on with the district

  court's synthesis of the facts.             The defendant either ignores or

  gives unduly short shrift to evidence that was central to the

  district court's conclusion that, on the version of the facts most

  hospitable to the plaintiff, the defendant had "ample opportunity

  to observe [McKenney’s] actions and movements" before pulling the

  trigger and that the defendant’s decision to shoot McKenney was

  "unreasonably precipitous."          McKenney, 2017 WL 1365959, at *12-

  13.    These facts include McKenney's suicidality, the slowness of

  his gait, the clear visibility, the fact that six minutes had

  elapsed since any officer had last ordered McKenney to drop his

  weapon, the fact that nobody had warned McKenney that deadly force

  would be used if he failed to follow police commands, and the six-

  minute gap between when McKenney raised his gun skywards and when

  the defendant pulled the trigger.              Rather than accept arguendo

  that   McKenney    never    came    close    to   pointing   his    gun   in   the

  defendant's direction, the defendant devotes much sound and fury

  to the proposition that he reasonably perceived McKenney to be

  aiming his weapon at him.            In short, the defendant has woven

  factbound arguments regarding both the immediacy of the threat

  posed by McKenney and the feasibility of less drastic action into


                                       - 16 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 17FiledDate
                                             10/06/17   Page 17 of 19 Entry
                                                 Filed: 10/06/2017     PageID   #: 2012
                                                                            ID: 6124296



  the   warp   and     woof   of   his     challenge    to    the   district    court's

  qualified immunity analysis.               Such an intertwining of disputed

  issues of fact and cherry-picked inferences, on the one hand, with

  principles of law, on the other hand, places these arguments beyond

  our jurisdictional reach on interlocutory appeal.                    See Cady, 753

  F.3d at 359-60; cf. Whitfield v. Meléndez-Rivera, 431 F.3d 1, 8

  (1st Cir. 2005) (concluding that the question of whether a suspect

  appeared threatening before officer employed lethal force was

  properly resolved by the jury).

               To sum up, the precedents make pellucid that the most

  relevant factors in a lethal force case like this one are the

  immediacy of the danger posed by the decedent and the feasibility

  of remedial action.         See Garner, 471 U.S. at 11-12; Whitfield, 431

  F.3d at 8; Young, 404 F.3d at 23.                 Taking the facts in the light

  most amiable to the plaintiff (as the law required it to do), the

  district court concluded that a rational jury could reasonably

  infer both that McKenney did not pose an imminent threat and that

  viable remedial measures had not been exhausted.                    The court also

  concluded     that    these      facts    should     have    been   obvious    to   an

  objectively     reasonable        officer    in     the     defendant's   position.

  Although the defendant invites us to adopt a spin on the summary

  judgment record different from that taken by the district court,

  we lack jurisdiction to accept that invitation under Johnson and

  its progeny.       See Goguen v. Allen, 780 F.3d 437, 455-56 (1st Cir.


                                           - 17 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 18FiledDate
                                             10/06/17   Page 18 of 19 Entry
                                                 Filed: 10/06/2017     PageID   #: 2013
                                                                            ID: 6124296



  2015) (dismissing appeal for lack of jurisdiction when "defendants

  repeatedly       ignore[d]       evidence,       and   reasonable      inferences

  therefrom" on which the court below premised its interlocutory

  denial of qualified immunity); Penn v. Escorsio, 764 F.3d 102, 110

  (1st Cir. 2014) (dismissing appeal from interlocutory denial of

  qualified immunity after "peel[ing] away the facade by which"

  defendants       portrayed       "purely     factual    disputes"      as     legal

  arguments); Cady, 753 F.3d at 361 (concluding similarly when

  defendant failed to concede arguendo that the court below "was

  correct    in    its    determinations     regarding    what   inferences      were

  permissible on the summary judgment record"); Díaz, 112 F.3d at 5

  (dismissing appeal for lack of jurisdiction when defendant merely

  attempted to take "a different spin" on the facts).                  Accordingly,

  we dismiss the defendant's factbound challenges to the district

  court's order for lack of jurisdiction.

  III.    CONCLUSION

               We need go no further. For the reasons elucidated above,

  we dismiss the appeal in part for want of appellate jurisdiction

  and    otherwise       affirm   the   district    court's   denial    of    summary

  judgment.       Costs shall be taxed in favor of the plaintiff.

               Of course, our words here are not the end of the matter.

  The pretrial denial of qualified immunity is but "a way station in

  the travel of a case."           Camilo-Robles, 151 F.3d at 9.          Depending

  on the facts proven at trial and the inferences drawn by the jury,


                                         - 18 -
 Case 17-1378
Case: 2:15-cv-00073-JDL
                Document:Document
                          29 Page:75 19FiledDate
                                             10/06/17   Page 19 of 19 Entry
                                                 Filed: 10/06/2017     PageID   #: 2014
                                                                            ID: 6124296



  the defendant may or may not ultimately prevail on his qualified

  immunity defense.6         We hold today simply that the defendant's

  purely legal challenge is devoid of merit and that his factbound

  arguments are inappropriate for interlocutory appeal.



  So Ordered.




        6 We recognize that the defendant faced a challenging
  situation. On this scumbled record, though, it is for the jury to
  decide whether McKenney presented a sufficiently serious and
  imminent threat, such that the defendant's ultimate decision to
  use lethal force was objectively reasonable or, at least, belongs
  within the "zone of protection" afforded to police officers in
  borderline cases. Roy, 42 F.3d at 695.


                                       - 19 -
